              Case 2:09-cr-00244-WBS Document 181 Filed 01/09/13 Page 1 of 2


1    PRECILIANO MARTINEZ
     ATTORNEY AT LAW
2    State Bar No. 93253
     801 15th St, Suite F
3    Modesto, CA 95354
     (209)579-2206/ (209)579-2211 Fax
4

5    Attorney for Defendant
     ELIAS ALVAREZ RAMIREZ
6

7                                  UNITED STATES DISTRICT COURT
8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10                                                  )
     UNITED STATES OF AMERICA,                      ) CASE NO. 2:09-cr-00244-MCE
11              Plaintiff,                          )
12
          vs.                                       )
                                                    ) STIPULATION AND ORDER TO
13   ELIAS ALVAREZ RAMIREZ,                         ) CONTINUE SENTENCING DATE
                Defendant.                          )
14
                                                    )
15                                                  )
                                                    )
16

17
             IT IS HEREBY STIPULATED by and between Assistant United States Attorney Todd
18
     Leras, Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for Defendant Elias
19

20   Alvarez Ramirez, that the sentencing date scheduled for January 24, 2013, at 9:00 a.m. be

21   vacated and the sentencing date be continued to this court’s calendar on April 4, 2013 at 9:00
22
     a.m. Further continuance is needed to complete the ongoing investigation.
23
             The court is advised that counsel have conferred about this request that they have agreed
24
     to the court date of April 4, 2013 and that Mr. Leras has authorized Preciliano Martinez to sign
25

26   this stipulation on his behalf.

27

28




                                                     1
                             Case 2:09-cr-00244-WBS Document 181 Filed 01/09/13 Page 2 of 2


1                           The parties agree and stipulate that time should be excluded under the Speedy Trial Act
2
     pursuant to Local Code T4 for sentencing, up to and including April 4, 2013.
3
                                                                              Respectfully Submitted,
4

5
     Dated: January 7, 2013                                                   /s/ Preciliano Martinez
6                                                                             Preciliano Martinez
                                                                              Attorney for Defendant
7
                                                                              ELIAS ALVAREZ RAMIREZ
8
     Dated: January 7, 2013                                                   /s/ Todd Leras
9                                                                             Assistant U.S. Attorney
                                                                              Attorney for Plaintiff
10

11

12

13

14

15                                                             ORDER
16
                            Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court
17
     that the current January 24, 2013 sentencing date is hereby vacated and reset to April 4, 2013, at
18

19
     9:00 AM.

20                          IT IS SO ORDERED.
21

22
     Dated: January 8, 2013

23                                                          _________________________________________
                                                            MORRISON C. ENGLAND, JR., CHIEF JUDGE
24
                                                            UNITED STATES DISTRICT COURT
     DEAC_Signatu re-END:




25

26
     c4d6b0d3
27

28




                                                                   2
